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                                       XARELTO LITIGATION

                         EXPERT REPORT OF BRIAN E. PERSING, M.D.



   I.     QUALIFICATIONS

          I am on staff at Singing River Health System, Regional Cancer Center, where I have been

   employed since 2011. I have staff privileges with both the Pascagoula and Ocean Springs

   hospitals. I am board certified in Hematology and in Oncology.

          I graduated from University of South Dakota School of Medicine in Vermillion, South

   Dakota, in 2002. I participated in an internal medicine internship between 2002 and 2003 at

   University of Mississippi Medical Center in Jackson, Mississippi. I performed my residency

   between 2003 and 2005 at University of Mississippi Medical Center in Jackson, Mississippi. I

   participated in fellowship training in Hematology/Oncology from 2006 through 2009 at the

   University of Mississippi Medical Center in Jackson, Mississippi.

          I am on the Mississippi Cancer Registry Advisory Board and am Vice President of the

   Mississippi Oncology Society. I serve as an adjunct professor at the William Carey University

   College of Osteopathic Medicine. I am also on the Credential Committee for Singing River

   Health System.

          My Curriculum Vitae is attached as Exhibit A. My hourly rate for medical legal matters

   is $300 per hour. I have not provided trial and/or deposition testimony in the last four years.

          I have reviewed various materials in preparation for this report, including medical records

   of Dora Mingo and all deposition testimony taken in the Mingo case. A list of these materials is

   attached as Exhibit B. In addition to the materials in Exhibit B, I rely on my background,

   education, training, and clinical experience in reaching the opinions authored in this report. I

   offer the opinions in this report to a reasonable degree of medical and scientific certainty.
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   II.    CASE SPECIFIC FINDINGS FOR DORA MINGO

          A.      Medical Overview: Medical History Prior to Total Hip Replacement

          Mrs. Mingo had total hip replacement surgery on January 6, 2015, at St. Dominick’s

   Hospital under the care of Dr. Gandy. At the time she proceeded with surgical intervention her

   documented medical conditions included tobacco use in the form of smoking, diabetes,

   hypertension, hypercholesterolemia, and obesity. Undocumented medical conditions included,

   upon further review of the chart, intermittent leukocytosis and anemia.

          Medical Statement: Previous Medical History

          As noted, anemia was not overtly documented in the chart prior to her surgery. Labs

   from 2003 through 2016 were reviewed and documented and labeled as Graph 1.

          As noted by the values obtained for both the hemoglobin and hematocrit, prior to her lab

   values in 2016, Mrs. Mingo’s hemoglobin and hematocrit were either low normal or low. This

   finding is consistent with a slow chronic bleed such as is seen with gastric ulcers. During this

   time her therapy often included nonsteroidal anti-inflammatories (NSAIDs), including Celebrex,

   meloxicam, and Anaprox DS. These medications were commonly used in conjunction with

   aspirin throughout the course of her medical history. It is noted that in May 2014, upon seeing

   her, Dr. Gholson proceeded with therapy of meloxicam. This was done after Mrs. Mingo had

   been unsuccessfully treated with Celebrex. Celebrex has a safer profile from the standpoint of

   the development of gastric ulcers. Meloxicam and later prescribed Anaprox DS are known to

   have potential toxicities that include development of gastric ulcers and associated bleeds.

          B.      Medical Overview: Preoperative History: Total Hip Replacement

          Mrs. Mingo saw Dr. Jeffrey Burns, orthopedic surgeon, on August 28, 2014. In his

   medical note, he indicated that Mobic/meloxicam had been discontinued by Dr. Gholson.

   Recommendations from Dr. Burns included nonsurgical interventions, including physical
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   therapy and injections. The medical records indicate that Dr. Burns also discussed with

   Mrs. Mingo possible surgical interventions. His medical record reflects a detailed discussion of

   risk factors associated with total hip surgery, which included bleeding, transfusion, implant

   removal, blood clots in legs, and blood clots in lungs which could be fatal. Mrs. Mingo appears

   to have opted to undergo injection with little improvement in her symptoms. She was later

   referred to a second orthopedic surgeon, Dr. David Gandy. She was given prescriptions for

   Anaprox DS one tablet by mouth twice daily with 2 refills. Dr. Gholson saw Mrs. Mingo on

   December 8, 2014; at that time, Anaprox DS was not listed on the medication sheet. However,

   at a follow-up visit with Dr. Gandy on December 29, 2014, Anaprox was listed in home

   medications. Dr. Gandy made plans to proceed with total hip replacement surgery; a prescription

   for iron was placed on Mrs. Mingo’s medication list.

          Medical Statement: Preoperative History: Total Hip Replacement

          Mrs. Mingo sought two separate orthopedic opinions regarding intervention for her hip.

   After failure of medical intervention such as nonsteroidal anti-inflammatories as well as

   injections, she opted to proceed with surgery. The risks of thrombosis and bleeding were

   outlined in a consent for the procedure and documented in Mrs. Mingo’s medical chart. The risk

   of a fatal clot in the form of a pulmonary embolism was discussed as a possible risk with the

   surgery. Mrs. Mingo agreed to proceed with the surgery even after having the risks described to

   her.

          Anaprox DS 550 mg was prescribed 2 times daily by Dr. Gandy in anticipation of the

   total hip replacement, which was scheduled for January 2015. In the package insert for Anaprox

   DS, serious reactions that are listed include gastrointestinal bleeding, gastrointestinal perforation,

   and ulcer development. Interaction characteristics that include antiplatelet effects as well as



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   gastrointestinal or mucosal injury and bleeding are also included in the package insert. Anaprox

   DS combined with aspirin will increase the risk not only of ulcer development, but also of

   platelet dysfunction leading to an increased risk of bleeding.

          C.      Medical Overview: Surgical History

          Mrs. Mingo was taken to the operating room on January 6, 2015, and was discharged on

   January 9, 2015. During her hospitalization she became anemic, likely as a result of surgical

   blood loss. She was continued on aspirin and she was placed on deep vein thrombosis (DVT)

   prophylaxis with Lovenox. While in the hospital, she was also identified with a 40-year history

   of one-half pack per day smoking and also diagnosed with a Klebsiella urinary tract infection.

   She was administered Lovenox for three days in the hospital and then prescribed an additional

   seven days of anticoagulation with Lovenox at a dose of 40 mg administered subcutaneously

   daily along with aspirin. Her discharge plans indicated that at the end of her use of Lovenox (ten

   days total – seven days post-hospitalization), she was to transition to DVT prophylactically with

   aspirin at 325 mg.

          Medical statement: Surgical History

          Mrs. Mingo’s hospital course was standard for what is typically expected with a right hip

   arthroplasty and treatment with deep vein thrombosis prophylaxis with low molecular weight

   heparin.

          D.      Medical Overview: Postoperative Care Through Onset of Development of
                  Deep Vein Thrombosis

          Mrs. Mingo was continued on Lovenox after discharge from the hospital on deep vein

   thrombosis prophylactic doses (40 mg administered subcutaneously once daily) for a total of

   seven doses while continuing aspirin. After these seven doses of Lovenox were administered,

   aspirin was the only form of prophylaxis for deep vein thrombosis. Per pharmacy and chart


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   review, she completed her final dose of Lovenox on January 16, 2015. In the postoperative

   setting, there is no documentation that Mrs. Mingo attempted to stop smoking. She then

   presented back to Dr. Gholson on January 21, 2015, with evidence of leg swelling bilaterally that

   prompted venous Dopplers. These were obtained on January 22, 2015, and revealed evidence of

   a right-sided peroneal (anterior proximal) deep vein thrombosis that was occlusive in nature. On

   January 22, 2015, she was admitted to Southwest Mississippi Regional Medical Center and was

   started on DVT treatment doses of Lovenox (1 mg/kg administered subcutaneously twice daily),

   continued on aspirin, and was given a loading dose of Coumadin at 10 mg. At the time of

   admission her PT/INR and PTT were normal and documentation of anemia by laboratory is

   noted. Coumadin and Lovenox were stopped after one day and then Dr. Renie Jordan switched

   Mrs. Mingo to Xarelto as therapeutic DVT treatment doses. At his deposition, Dr. Jordan

   indicates that he discussed with Mrs. Mingo the risks associated with Xarelto.

          Mrs. Mingo was started on Xarelto at a dose of 15 mg to be administered twice daily for

   21 days followed by a dose of 20 mg administered once daily. Of note, her INR rose to 2.08 on

   January 24, 2015, after receiving two doses of Xarelto and one dose of Coumadin at 10 mg.

   Discharge information included education regarding risk of bleeding and included instructions to

   hold aspirin. Aspirin, however, remained on the medicine reconciliation sheet as a home

   medication. She was then discharged on January 24, 2015.

          Medical Statement: Postoperative Care Through Onset of Development of Deep
          Vein Thrombosis

          Mrs. Mingo received ten days of prophylactic subcutaneous Lovenox at a dose of 40 mg

   (three days post-surgery in the hospital followed by seven days after discharge) in the

   postoperative setting concomitantly with aspirin. At the conclusion of her prophylactic Lovenox

   therapy, she was transitioned to aspirin 325 for additional deep vein thrombosis prophylaxis.


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   The aspirin was ineffective as she developed a deep vein thrombosis within five days of

   discontinuing Lovenox prescribed at prophylactic doses. The risks for the development of a

   deep vein thrombosis were originally described by Virchow and are now known as Virchow’s

   triad. It includes:

           1.      Hypercoagulable state

           2.      Stasis

           3.      Endothelial damage (vessel damage)

           Orthopedic procedures, especially knee and hip arthroplasties, are considered high risk

   for the development of a deep vein thrombosis as the surgery itself fulfills two risk factors for the

   development of a deep vein thrombosis. Stasis and endothelial injury are both part of an

   orthopedic procedure given the patient’s relative immobility and underlying endothelial injury.

   Moreover, hypercoagulable state could include congenital or acquired thrombophilic states,

   obesity, cancer, tobacco abuse, pre-existing thrombosis, pregnancy, or estrogen use. Post-

   surgical attempts to prevent the development of a deep vein thrombosis involve prophylactic

   interventions. As in Mrs. Mingo’s case, this included Lovenox for a total of ten days in

   conjunction with aspirin with continuation of aspirin following the completion of Lovenox. This

   intervention failed and she developed a deep vein thrombosis. Unfortunately, once a deep vein

   thrombosis develops, prophylactic therapy is no longer adequate, and more aggressive

   anticoagulation becomes necessary. Increasing degrees of anticoagulation bring with them

   increasing risks of bleeding. This is inevitable with more aggressive anticoagulation. Below is a

   list of acceptable therapeutic options for the treatment of a deep vein thrombosis (Table 1)

   followed by a figure (Figure 1) regarding the site of action of each of these anticoagulants.




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          On admission to the emergency room, the physician initially ordered Mrs. Mingo a

   loading dose of Coumadin at 10 mg orally once as well as Lovenox at weight based dosing at

   1 mg/kg, which is considered therapeutic DVT treatment. Lovenox was administered two times

   as indicated in the medication administration record for the treatment of underlying deep vein

   thrombosis. Coumadin administered at a 10 mg dose for one dose may be responsible in part for

   the elevation in Mrs. Mingo’s PT/INR going from 0.88-2.08 between the 22nd and 24th of

   January, 2015, respectively. This may also be a result of Xarelto and therefore this finding does

   not yield any significant clinical weight.

          Based on the FDA-approved package insert information and current recommendations,

   her therapy, which included Xarelto to be administered at 15 mg two times daily for 21 days with

   conversion to 20 mg once daily thereafter, was appropriate. During this time it is documented

   that Mrs. Mingo remained on aspirin.

          The 2016 Antithrombotic Guidelines by CHEST recommend the prescription of Xarelto

   or one of the other NOACs as a first-line therapy in preference to Coumadin for initial and long-

   term treatment of DVT or PE in patients without cancer.

          E.      Medical Overview: Medical Events that Took Place after Initiation of Deep
                  Vein Thrombosis Treatment with Anticoagulation through Hospitalization
                  for Gastrointestinal Bleed

          On February 2, 2015, after having been on Xarelto for 11 days at 15 mg orally two times

   daily, Mrs. Mingo presented to the emergency room at King’s Daughters Hospital with evidence

   of worsening anemia with a hemoglobin of 8.6 and weakly Hemoccult-positive stools as well as

   evidence of lower extremity swelling. According to her medical records, no dark stools were

   noted on this visit. A bleeding scan obtained in the emergency room did not reveal any evidence

   of overt bleeding and aspirin is documented on her medication list in conjunction with Xarelto.



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   Mrs. Mingo then followed up with nurse practitioner Deborah Zachary on February 3, 2015. A

   referral was made to a gastroenterologist.

          Mrs. Mingo was seen by nurse practitioner Mary Thornton at the office of Dr. Stephen

   Keith on February 10, 2015. Preparation for a colonoscopy was made and plans were also made

   to proceed with an esophagogastroduodenoscopy. An anemia workup was initiated. Laboratory

   tests obtained at that point in time revealed a hemoglobin of 5.8. These labs were reviewed by

   Dr. Jennifer Gholson, and Mrs. Mingo was directed to the emergency room at Southwest

   Mississippi Regional Medical Center. At the time of her admission, Mrs. Mingo had been

   prescribed Xarelto for a total of 21 days at 15 mg by mouth twice daily with the plan for her to

   move to 20 mg the following day. At Southwest Mississippi Regional Medical Center,

   Mrs. Mingo’s documented hemoglobin was 6.4 with an INR of 2.34 and no evidence of a current

   DVT on repeat Doppler examination. Mrs. Mingo’s medical chart documents that she had dark

   stools since initiating her iron in January 2015.

          There is no documentation of hemodynamic instability or bright red blood per rectum at

   the time of admission to the hospital. Mrs. Mingo was, however, admitted to the intensive care

   unit and received a total of 4 units of packed red blood cells and was also given 2 units of fresh

   frozen plasma. On February 13, 2015, she was evaluated by gastrointestinal services and

   underwent an EGD revealing a 6 mm oozing ulcer that was treated with a Hemoclip and ACP.

   Additionally, a biopsy and stains for Helicobacter pylori, a common cause of gastric ulcers, were

   negative. Her hemoglobin with transfusion rose to 9.9. She was transferred to the floor and later

   discharged from the hospital on February 15, 2015.




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          Medical Statement: Medical Events that Took Place after Initiation of Deep Vein
          Thrombosis Treatment with Anticoagulation through Hospitalization for
          Gastrointestinal Bleed

          After anticoagulation for the treatment of Mrs. Mingo’s deep vein thrombosis was

   initiated, she developed evidence of gastrointestinal bleeding confirmed by weakly Hemoccult-

   positive stools as well as a rather sizable drop in her hemoglobin and hematocrit. Given her

   stable appearance in the emergency room, the emergency room physician opted to recommend

   that she continue anticoagulation with her Xarelto and aspirin. This was confirmed and

   supported by two additional practitioners on February 3, 2015, and February 10, 2015, that also

   chose to continue anticoagulation. Presumably, anticoagulation would have been discontinued at

   these times if the medical practitioners felt that Mrs. Mingo was at risk for evidence of

   hypotension or further bleeding. Upon admission to Southwest Mississippi Regional Medical

   Center on February 12, 2015, anticoagulation was held and Mrs. Mingo appropriately received

   packed red blood cells that resulted in an appropriate increment in her hemoglobin and

   hematocrit.

          Treatment of bleeding is typically treated with:

          1.      Stopping the medication

          2.      Managing any evidence of hemodynamic instability

          3.      Transfusion or volume expanding agents as needed to maintain blood pressure

          4.      Addressing the site of bleeding

                  a.      Systemically-reversal options/correction of anticoagulation bleeding

                  b.      Locally-surgical or interventional procedures that manage bleeding at the

                          site of bleeding

          All of these steps were taken in an appropriate fashion. At the time of admission she was

   noted to be on both aspirin and Xarelto. These agents work on separate portions of the
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   coagulation system with aspirin effecting platelet function, which is the initial line of defense

   with an underlying bleed. Xarelto affects the protein-based side of the coagulation cascade that

   helps maintain and stabilize clots. Mrs. Mingo’s co-administration of both aspirin and Xarelto

   increased her risk of bleeding over and above the individual risks associated with each

   medication by itself. Xarelto may have increased the rate of Mrs. Mingo’s gastric bleed;

   however, administration of Lovenox with Coumadin, with the intent of treating a deep vein

   thrombosis, would have led, without reservation, to an increased risk of bleeding. Based on the

   EINSTEIN trial comparing Xarelto to Lovenox and Coumadin, there was a 1 percent risk in

   bleed with Xarelto that was severe or life-threatening and a 1.7 percent risk of bleed that was

   severe or life-threatening in the Lovenox and Coumadin arm of the trial. This correlated with a

   risk reduction of 46 percent favoring administration of Xarelto over Lovenox and Coumadin.

          Mrs. Mingo underwent repeat Dopplers which no longer revealed deep vein thrombosis.

   This is likely a natural result of thrombus breakdown of the body. Failure of Xarelto and aspirin

   to manage her DVT would have been exhibited by progression of DVT by Doppler.

          Of note, Helicobacter pylori negative biopsy of the stomach increases the likelihood that

   Mrs. Mingo’s development of her gastric ulcers was the direct result of nonsteroidal anti-

   inflammatories and co-administration of aspirin.

          F.      Medical Overview: Resolution of Gastric Ulcer Bleeding and Recovery from
                  Gastric Ulcer Bleed

          Four days after discontinuing coagulation and correction of gastric ulcer, Mrs. Mingo’s

   red blood count was a hemoglobin of 11 and a hematocrit of 34.5. In May 2015, a repeat EGD

   was performed. It revealed resolution of the gastric ulcer while Mrs. Mingo was on aspirin but

   not taking any nonsteroidal anti-inflammatory drugs. There were, however, areas of increased

   and intense erythema documented in her records.


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          In January 2016, the medical chart notes reveal a hemoglobin of 13. Mrs. Mingo was

   referred to hematologist Dr. Yunus on February 1, 2016, with evidence of normal iron stores and

   normal blood counts.

          Mrs. Mingo’s medical records both before and after her gastric ulcer bleed describe

   depression and anxiety. On June 6, 2015, Dr. Gholson’s notes specifically cite no evidence of

   anhedonia. However, the note reveals evidence of appetite changes, racing thoughts, panic, and

   paranoia. Other further notes following this point in time failed to demonstrate similar

   symptoms. By December 2, 2015, nurse practitioner Deborah Zachary notes no further fatigue

   or malaise.

          Medical Statement: Resolution of Bleeding and Recovery from Bleed

          After intervention for her underlying gastric ulcer and discontinuation of nonsteroidal

   anti-inflammatories and anticoagulants with the exception of aspirin, Mrs. Mingo’s blood cells–

   her hemoglobin and hematocrit–rose to levels documented only once in the years between 2003

   and 2015 preceding her gastrointestinal bleed. This finding is most consistent with the

   development of a chronic anemia related to chronic slow blood loss. Mrs. Mingo had

   documented depression and anxiety both before and after her hospitalization for her gastric ulcer

   bleed. There was testimony by Mrs. Mingo in her deposition that she believed her son had been

   falsely convicted of a crime and that this situation caused her stress and anxiety. Mrs. Mingo’s

   son’s conviction and incarceration occurred in 2004. As early as July 2003, Mrs. Mingo was

   noted to have a past medical history of anxiety. She was taking Xanax routinely at that time (and

   for many years). She was started on Lexapro in July 2007. The medical records also include an

   anxiety/depression diagnosis in March 2010 by Dr. Kyzar.




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          Mrs. Mingo experienced no consistent long-term sequelae following her gastric ulcer

   bleed. She had a complete resolution of her blood counts and no recurrence of underlying deep

   vein thrombosis.

   In Summary:

          Mrs. Mingo developed a postoperative and provoked deep venous thrombosis, which was

   treated appropriately with Xarelto based on FDA recommendations and current CHEST

   guidelines while continuing to take aspirin. She had taken Anaprox DS and other nonsteroidals

   prior to surgery with the development of an underlying gastric ulcer. Ultimately, this gastric

   ulcer bled and this was likely potentiated with anticoagulation in the form of Xarelto and aspirin.

   However, anticoagulation, including Lovenox and Coumadin, that would have been administered

   for deep vein thrombosis at treatment doses would have led to an equivalent if not more

   profound rate of bleed from the gastric ulcer. After correction of Mrs. Mingo’s underlying

   gastrointestinal bleed, she had no long-term discernible deficits or symptoms that would have

   been associated with her underlying gastric bleed.




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         Table 1

Mechanism of       Agent        Monitoring   Correction Nuances         Half-life     Compliance   Factors involved
Action
Vitamin K          Coumadin     PT/INR       Vitamin K   Dietary        20 to 60      Poor         Factors II, VII, IX,
antagonists        / warfarin   Goal 2-3     and fresh   restriction,   hours                      and X and
                                             frozen      regular lab                               protein C&S
                                             plasma      monitoring,
                                                         interference
                                                         from other
                                                         medications
Low molecular      Lovenox      Monitoring   Protamine   Injectable     4.5-7 hours   Poor         Potentiates
weight heparin                  factor X a   –partial                                              Antithrombin III
                   Fragmin      activity                                3-5 hours
Factor Xa          Arixtra      Monitoring   None        Injectable     17-21 hours   Poor         Factor X
inhibitor –                     factorXa
injectable                      activity
Direct             Pradaxa      None         None        Oral           12-17 hours   Good         Thrombin
thrombin                                                                                           (Factor II)
inhibitor
Factor Xa          Xarelto      None         None        Oral           5-9 hours     Good         Factor X
inhibitor–oral     Eliquis                                              12 hours




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   Graph 1

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           41.5     43.8      47.5
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   Figure 1




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                                     EXHIBIT A




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                                     Brian E. Persing MD




      Education
             M.D.    University of South Dakota School of Medicine, Vermillion, SD

             B.S.    University of South Dakota, Vermillion, SD, May 1998, Major: Chemistry

      Residency Training
             Internship: Internal Medicine 2002-2003, University of Mississippi Medical Center, Jackson
                      Mississippi
             Residency: 2003-2005, University of Mississippi Medical Center, Jackson, Mississippi

      Fellowship Training
             Hematology/Oncology 2006-2009, University of Mississippi Medical Center, Jackson, Mississippi

      Board Certification and Credentialing
             Board Certification Internal Medicine, Expiration 2015 Not Meeting MOC Requirements
             Board Certification Hematology, Expiration 2019 Meeting MOC Requirements
             Board Certification Oncology, Expiration 2019 Meeting MOC Requirements

      Current Staff Privileges
             Singing River Health System. 2005-Present. Pascagoula and Ocean Springs, Mississippi

      Current Employment
             Singing River Health System, Regional Cancer Center 2011-Present

      Past Employment
             Southern Cancer Center, Mobile Alabama, 2009-2011

      Research
             Summer Medical and Research Training, University of South Dakota School of Medicine, 1999.
                      "Do Patients Understand Prescription Medication Information?" Supervisor: Scott Rand,
                      M.D.
             Joint Third Year Research Project, University of South Dakota School of Medicine, 2001.
                      "Prescription Medications, Patient Information" Supervisor: David Brechtelsbauer, M.D.
             Howard Hughes Medical Institute, University of South Dakota, Department of Chemistry, 1997-
                      1998. Probing the presence of hydrophobic sites in anionic polyelectrolytes with
                      tris(polypyridine)chromium(III) complexes. Inorganica Chimica Acta, Volume 308,
                      Issues 1-2, 20 October 2000, Pages 107-115.Silvia Ronco et. Al.
             Validating an Assessment Tool for Frailty in an Ambulatory Geriatric Hematology and Oncology
                      Setting, 2009 to present. Initial Principal Investigator.




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      Professional Organizations
             American College of Physicians
             American Society of Clinical Oncology
             American Society of Hematology
             Mississippi Oncology Society

      Positions/Additional Professional Activities
             Mississippi Cancer Registry Advisory Board
             Vice President Mississippi Oncology Society
             Adjunct Professor William Carey University College of Osteopathic Medicine
             Credentialing Committee Singing River Health System
             Blood Utilization Committee Singing River Health System

      Presentations

             A Case Report of Pulmonary Papillomatosis with Progression to Multifocal Squamous Cell
                     Cancer of the Lung. Oral Presentation at Southern Society of Clinical Investigators 2009

             Case Report of IgE Multiple Myeloma. Poster Presentation at Southern Society of Clinical
                     Investigators 2008

             Unusual Presentation of Diffuse Large B-Cell Lymphoma. Poster Presentation at Southern
                     Society of Clinical Investigators 2007

      Additional Recognition and Awards
             Eagle Scout Class of 1992
             Spencer L. Schreiter Memorial Fellowship for Excellence in Hematology and Oncology,
                     Department of Hematology and Oncology, University of Mississippi Medical Center,
                     Jackson, MS




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                                     EXHIBIT B




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                 MATERIALS RELIED ON, REVIEWED, AND/OR CONSIDERED
                               BY BRIAN PERSING, MD


   All materials referenced and/or discussed within the report are incorporated. In addition to the
   materials specifically referenced within the report, the other materials relied on, reviewed, and/or
   considered are as follows:

   Depositions Transcripts
      • Renie Jordon, MD
      • Stephen Keith, MD
      • Dora Mingo
      • Jileta Mingo

   Product Labels
   Xarelto Label (08-2013)
   Xarelto Label (01-2014)
   Medical Records
   All medical records for Dora Mingo
   Medical Literature
   2016 Antithrombotic Guidelines, CHEST American College of Chest Physicians
   Sabir I, Khavandi K, Brownrigg J, Camm AJ. Oral anticoagulants for Asian patients with atrial
   fibrillation. Nature Reviews Cardiology. 2014;11(5):290-303. doi:10.1038/nrcardio.2014.22.




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